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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

   MICHELLE DOTSON, BRIGITTE                        §
   LOTT AND REGINOLD STEPHENS                       §
   INDIVIDUALLY, RONALD DOTSON,                     §
   INDIVIDUALLY AND AS                              §
   REPRESENTATIVE OF THE ESTATE                     §
   OF JANICE DOTSON-STEPHENS,                       §
   DECEASED                                         §
                    Plaintiffs                      §
                                                    §
   v.                                               §          CASE NO. 5:19-cv-151
                                                    §
   BEXAR COUNTY, BEXAR COUNTY                       §
   HOSPITAL DISTRICT DBA                            §
   UNIVERSITY HEALTH SYSTEM,                        §
   BEXAR COUNTY PRE-TRIAL                           §
   SERVICES, UNKNOWN, UNNAMED                       §
   OFFICERS/EMPLOYEES OF THE                        §
   BEXAR COUNTY SHERIFF’S OFFICE,                   §
   UNKNOWN, UNNAMED OFFICERS/                       §
   EMPLOYEES OF THE BEXAR                           §
   COUNTY HOSPITAL DISTRICT DBA                     §
   UNIVERSITY HEALTH SYSTEM,                        §
   UNKNOWN, UNNAMED OFFICERS/                       §
   EMPLOYEES OF THE BEXAR                           §
   COUNTY PRE-TRIAL SERVICES                        §
                     Defendants                     §

                            ORIGINAL ANSWER OF MIKE LOZITO

        COMES NOW Defendant Mike Lozito and files this Original Answer to Plaintiffs’ First

Amended Petition and in support thereof respectfully shows as follows:

                            DISCOVERY CONTROL PLAN LEVEL

        1.      The allegations in Paragraph 1 concern a discovery control plan under state rules

of procedure. Lozito denies that state rules of procedure apply because the case has been

removed to federal court.




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                                    PARTIES AND SERVICE

       2.      Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 2 of the First Amended Petition. Therefore, the

allegations are denied.

       3.      Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 3 of the First Amended Petition. Therefore, the

allegations are denied.

       4.      Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 of the First Amended Petition. Therefore, the

allegations are denied.

       5.      Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 5 of the First Amended Petition. Therefore, the

allegations are denied.

       6.      Lozito denies that the use of the term “Plaintiff” to refer to any unspecified

plaintiff or to the plaintiffs collectively is appropriate. Lozito further denies such use of the term

in any way abrogates Plaintiffs’ duty to state their claims with the required specificity under law.

       7.      Lozito admits the allegations concerning service on Bexar County.

       8.      Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of the First Amended Petition. Therefore, the

allegations are denied.

       9.      Lozito denies the allegations in Paragraph 9 of the First Amended Petition.

       10.     Lozito admits the allegations concerning service on Sheriff Salazar.

       11.     Lozito denies the allegations in Paragraph 11 of the First Amended Petition.



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       12.     Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 12 of the First Amended Petition. Therefore, the

allegations are denied.

       13.     Lozito is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 13 of the First Amended Petition. Therefore, the

allegations are denied.

                                 JURISDICTION AND VENUE

       14.     Lozito denies the allegations in Paragraph 14 of the First Amended Petition.

       15.     The allegations contained in Paragraph 15 are statements of jurisdiction. Lozito

admits that the United States District Court for the Western District of Texas has jurisdiction

over Plaintiffs’ claims but denies any other factual allegation.

       16.     The allegations contained in Paragraph 16 are statements of venue. Lozito admits

that the United States District Court for the Western District of Texas, San Antonio Division is

the proper venue but denies any other factual allegation.

                                              FACTS

       17.     Lozito denies the allegations in Paragraph 17 of the First Amended Petition.

       18.     Lozito denies the allegations in Paragraph 18 of the First Amended Petition.

       19.     Lozito denies the allegations in Paragraph 19 of the First Amended Petition.

       20.     Lozito denies the allegations in Paragraph 20 of the First Amended Petition.

       21.     Lozito denies the allegations in Paragraph 21 of the First Amended Petition.

       22.     Lozito denies the allegations in Paragraph 22 of the First Amended Petition.

       23.     Lozito denies the allegations in Paragraph 23 of the First Amended Petition.

       24.     Lozito denies the allegations in Paragraph 24 of the First Amended Petition.



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        25.     Lozito denies the allegations in Paragraph 25 of the First Amended Petition.

                                              CLAIMS

        26.     Lozito denies the allegations in Paragraph 26 of the First Amended Petition.

        27.     Lozito denies the allegations in Paragraph 27 of the First Amended Petition.

        28.     Lozito denies the allegations in Paragraph 28 of the First Amended Petition.

        29.     Lozito denies the allegations in Paragraph 29 of the First Amended Petition.

        30.     Lozito denies the allegations in Paragraph 30 of the First Amended Petition.

        31.     Lozito denies the allegations in Paragraph 31 of the First Amended Petition.

                               INDEX OF CAUSES OF ACTION

        The “causes of action” enumerated in this section of the First Amended Petition, whether

apparently asserted against Lozito or other defendants, are not stated in a coherent or substantial

manner, fail to state a claim upon which relief can be granted, and are denied in their entirety.

                                 DAMAGES FOR PLAINTIFFS

        32 [“28”].     Lozito denies the allegations in this paragraph of the First Amended

Petition.

        33 [“29”].     Lozito denies the allegations in this paragraph of the First Amended

Petition.

        34 [“30”].     Lozito denies the allegations in this paragraph of the First Amended

Petition.

        35 [“31”].     Lozito admits that Plaintiff requested a trial by jury.

                                             PRAYER

        [36.]   Lozito denies the asserted claims for relief.




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                                  AFFIRMATIVE DEFENSES

       37.     Lozito asserts the doctrine of qualified immunity from all claims.

       38.     Any injuries sustained by Plaintiffs were the result of the actions of third parties

over whom Lozito had no control and did not control.

       39.     The First Amended Petition fails to state a claim upon which relief can be

granted.

       40.     Lozito reserves the right to add and rely upon such other further defenses as may

become apparent during discovery in this action, and he reserves his right to amend his Answer

and other pleadings to assert such additional defenses.

       WHEREFORE, Defendant Mike Lozito demands judgment dismissing the above-entitled

and numbered cause, along with costs and disbursements, and further awarding all such other

and further relief as the Court shall deem just, equitable and proper.



                                                          Respectfully submitted,
                                                          JOE D. GONZALES
                                                          Bexar County Criminal District Attorney

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                                CERTIFICATE OF SERVICE

       I do hereby certify on the 19th day of February, 2019, I electronically filed the foregoing
Original Answer of Mike Lozito with the Clerk of Court using the CM/ECF system, and that on
the same day I served the following counsel of record by electronic mail and facsimile
transmission:

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                                                    /s/ Robert Piatt
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